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                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA

MCARTHUR GRIFFIN                          §
                                          §
Plaintiff                                 §CIVIL ACTION NO.: 3:20-92-BAJ-EWD
                                          §
Versus                                    §
                                          §
REC MARINE LOGISTICS LLC, ET AL.          §   TRIAL BY JURY DEMANDED
                                          §
Defendants                                §

                   Order Granting Motion for Summary Judgment

       The Court having heard and considered the Motion for Summary Judgment

brought on behalf of Gulf Offshore Logistics, LLC; and also considered all

opposition presented against the motion for summary judgment; hereby rules that

the motion for summary judgment should be granted, and Gulf Offshore Logistics,

LLC should be dismissed from this litigation as having no involvement with the

facts or issues.

       Consdering the facts, and the Court’s conclusion regarding same;

       It is the Order of this Court that the Motion for Summary Judgment, be and

hereby is granted, and that Gulf Offshore Logistics, LLC, be and hereby is

dismissed from this case.

                                      _____________________________
                                      Judge Dick, U. S. Middle District Court,
                                      Baton Rouge, Louisiana
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                                 Submitted by:


                                 /s/ Fred E. Salley
                                 __________________________________
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                      CERTIFICATE OF SERVICE

     I hereby certify that a copy of the above and foregoing has
been served on all counsel of record by facsimile, receipt
requested, or by depositing same in the United States Postal
Service, properly addressed and postage prepaid, or by other
means, this 4th day of September, 2020.


                                 _____________________________
                                 FRED E. SALLEY, T.A. (11665)
